      Case 2:19-mj-00025-GRB Document 1 Filed 01/09/19 Page 1 of 20 PageID #: 1
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MEM                                                                     U.S. DINcie�}SEOD
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F.#2018RO1052                                                                             OURT E.D
                                                                                                   .N   'r
                                                                              JAN 09 2019
UNITED STATES DISTRICT COURT                                                                       *
EASTERN DISTRICT OF NEW YORK                                            LONG ISLAN
                                                                                       D OFF/CE
--------------------X
                                                             AFFIDAVIT IN
IN THE MATTER OF AN APPLICATION                              SUPPORT OF A
FOR A SEARCH WARRANT FOR:                                    SEARCH WARRANT

THE PREMISES KNOWN AND DESCRIBED                             (Fed. R. Crim. P. 41)
AS:

ONE BLACK APPLE I-PHONE, FCC ID# BCG-
E3085A, IC# 579CE3085A (THE "SUBJECT
TELEPHONE").
                                                        M J 19-
-------------------- X

EASTERN DISTRICT OF NEW YORK, SS:

               DEREKJ. WONDERLAND, being duly sworn, deposes and states that he is a

Special Agent with the Federal Bureau of Investigation ("FBI"), duly appointed according to

law and acting as such. Upon information and belief, there is probable cause to believe that

there is located in the PREMISES KNOWN AND DESCRIBED AS: ONE BLACK APPLE

I-PHONE, FCC ID# BCG-E3085A, IC# 579CE3085A (THE "SUBJECT TELEPHONE"),

further described in Attachment A, the things described in Attachment B, which constitute

evidence, fruits and instrumentalities of a narcotics trafficking conspiracy, in violation of

Title 21, United States Code, Sections 84l(b)(l)(A) and 846.
   Case 2:19-mj-00025-GRB Document 1 Filed 01/09/19 Page 2 of 20 PageID #: 2




              The source of your deponent's information and the grounds for his belief are as

follows: 1

               1.     I have been a Special Agent with the FBI since 2012. During my

tenure with the FBI, I have investigated various federal criminal violations including

narcotics trafficking. During the course of those investigations, I have conducted physical

surveillance, monitored undercover operations, debriefed cooperating witnesses and

confidential informants, monitored wiretaps, conducted controlled narcotics purchase and

interviewed civilian witnesses. The information set forth below is based upon my experience

and training as a Special Agent, my review of documents and other evidentiary items and my

discussions with other law enforcement agents. Unless specifically indicated, all

conversations and statements described in this affidavit are related in substance and in part

only. Based on my experience, and in light of the information I have learned during this

investigation, I believe there is probable cause that the SUBJECT TELEPHONE was used to

communicate with others concerning a narcotics conspiracy, and to receive and store

electronic information relating to the names, nicknames, telephone numbers and pager

numbers of criminal accomplices.

         BACKGROUND OF THE INVESTIGATION AND PROBABLE CAUSE

              2.      The FBI has been conducting an investigation into the distribution of

crack cocaine, heroin and other controlled substances in Coram, New York. During the




                     Because this affidavit is submitted for the limited purpose of
establishing probable cause for the search warrant, I have not set forth each and every fact
learned during the course of the investigation.
                                               2
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course of our investigation of this matter, the FBI has received information that BRANDYN

LIGGON, also known as "Swizz," was distributing controlled substances in Suffolk County.

              3.      Based on my training and experience, I am familiar with the typical

distribution and trafficking methods used by drug dealers and traffickers, including the

manufacture and distribution of narcotics.

              4.      In a substantial number of drug investigations, the following kinds of

drug-related evidence have typically been recovered:

                      a.     Members of drug organizations often maintain close at hand the

addresses and telephone numbers of their criminal associates, including information

pertaining to their sources of supply and customers, in mobile telephones.

                      b.     Records of calls to telephones (landlines and mobile

telephones). Such records constitute important corroborative evidence in drug conspiracy

cases because the defendants call one another regularly, especially just before and after an

incident involving an act committed in furtherance of the conspiracy.

                      c.     Drug traffickers frequently maintain records, receipts, notes,

ledgers, and other electronic documents relating to the ordering, sale and distribution of

drugs. Such records are generally maintained where the traffickers have ready access to

them, such as the trafficker's cellular telephones. Such records are maintained in digital

format on cellular phones, which are capable of holding digital data.

                      d.     Drug traffickers frequently maintain financial records

evidencing the deposit and transfer of monies in their homes. Such records are generally

maintained where the traffickers have ready access to them, such as the trafficker's cellular


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telephones. Such records are maintained in digital format on cellular phones, which are

capable of holding digital data.

                        e.      Based upon my training and experience, as well as my

discussions with other law enforcement officers, I am aware that it is generally a common

practice for drug traffickers to maintain records relating to their drug trafficking activities.

Because drug traffickers will "front" (that is, sell on consignment) controlled substances to

their clients, or alternatively, will be "fronted" controlled substances from their suppliers,

such record-keeping is necessary to keep track of amounts paid and owed, and such records

will also be maintained close at hand so as to readily ascertain current balances. Often drug

traffickers keep "pay and owe" records to show balances due for drugs sold in the past

("pay") and for payments expected ("owe") as to the trafficker's supplier and the trafficker's

dealer(s). Additionally, drug traffickers must maintain telephone and address listings of

clients and suppliers and keep them immediately available in order to efficiently conduct

their trafficking business. Such records are maintained in digital format on cellular

telephones, which are capable of holding digital data.

                5.      Also, I know, from both my professional and personal experiences, that

people often maintain multiple cellular telephones and other cellular telephones capable of

holding digital data used to facilitate drug activities.

                6.      The investigation revealed that LIGGON used cellular telephones to

conduct narcotics transactions. Indeed, on five occasions between February 2018 and July

2018, a cooperating informant ("CI"), acting at law enforcement's direction, communicated

with LIGGON using a cellular telephone for the purpose of conducting narcotics


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transactions. 2 I reviewed the communications between the CI and LIGGON and confirmed

that LIGGON utilized cellular telephones to conduct narcotics transactions.

               7.     On August 14, 2018, a grand jury sitting in the Eastern District of New

York returned a two-count indictment (the "Indictment") charging that between February

2013 and August 2018, LIGGON conspired to distribute and possess with intent to distribute

280 grams or more of a substance containing cocaine base, heroin, 100 grams or more of a

substance containing furanyl fentanyl and 100 grams or more of a substance containing

methoxyacetyl fentanyl (the "Target Offenses"). (See United States v. Brandyn Liggon, et

al., 18-CR-430 (SJF); a copy of the Indictment is attached hereto as Exhibit # 1.) On August

14, 2018, the Honorable Anne Y. Shields, United States Magistrate Judge for the Eastern

District of New York, signed a warrant authorizing the arrest ofLIGGON. (A copy of the

arrest warrant is attached as Exhibit #2).

               8.     On August 14, 2018, LIGGON was arrested in Suffolk County, New

York. Upon his arrest, all of the items were removed from his person in order to take an

inventory of what was in his possession. Law enforcement removed the SUBJECT

TELEPHONE from inside LIGGONS' pant pocket.

               9.     On August 14, 2018, LIGGON appeared before the Honorable Gary R.

Brown to be arraigned on the Indictment.

               10.    Based on my training, experience and discussions with other law

enforcement officers, I understand that individuals involved in conspiracies to distribute and


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                      The information provided by CI has proven to be reliable and has been
corroborated by other sources of information, including audio and video recordings, other
witnesses and surveillance officers. In exchange for cooperating with the government's
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possess with intent to distribute narcotics and who use firearms in connection with drug

trafficking crimes, often do not act alone and often communicate with co-conspirators by

means of cellular telephones such as the SUBJECT TELEPHONE. Such persons commonly

maintain records that reflect names, addresses, or telephone numbers of their associates in

their cellular telephones. They also commonly maintain records of communications such as

call logs, chats and text messages in their cellular telephones. They commonly take

photographs of themselves, their associates, or their property using their cellular telephones.

These individuals usually maintain these records of communication and photographs in their

possession and in their cellular telephones.

                                    TECHNICAL TERMS

               9.     As used herein, the following terms have the following meanings:

               10.    Wireless telephone (or mobile or cellular telephone): A handheld

wireless device used for voice and data communication through radio signals. These

telephones send signals through networks of transmitter/receivers, enabling communication

with other wireless telephones or traditional "land line" telephones. A wireless telephone

usually contains a "call log," which records the telephone number, date, and time of calls

made to and from the phone. In addition to enabling voice communications, wireless

telephones offer a broad range of capabilities. These capabilities include: storing names and

phone numbers in electronic "address books;" sending, receiving and storing text messages

and email; taking, sending, receiving and storing still photographs and video; storing and

playing back audio files; storing dates, appointments, and other information on personal


investigation, the CI received monetary compensation.
                                               6
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calendars; and accessing and downloading information from the Internet. Wireless

telephones may also include global positioning system ("GPS") technology for determining

the location of the device, and a wide variety of applications, also known as "apps," which

may store the user's preferences and other data. Such apps may include Facebook, Twitter,

and other social media services.

               11.    Based on my research, I understand that the SUBJECT TELEPHONE

provides not only phone and text message services, but can also be used to send and receive

emails; access the Internet; track GPS data; take, store and share photographs and videos; and

use a wide variety of apps. In my training and experience, examining data stored on devices

of this type can uncover, among other things, evidence that reveals or suggests who

possessed or used the SUBJECT TELEPHONE.

                               TECHNICAL BACKGROUND

               12.    As further described in Attachment B, this application seeks permission

to locate not only data that might serve as direct evidence of the crimes described on the

warrant, but also for forensic electronic evidence that establishes how the SUBJECT

TELEPHONE was used, the purpose of its use, who used it, and when. There is probable

cause to believe that this forensic electronic evidence can be recovered from the SUBJECT

TELEPHONE because:

                      a.     Data on an electronic device can provide evidence of a file that

was once on the device but has since been deleted or edited, or of a deleted portion of a file

(such as a paragraph that has been deleted from a word processing file). Virtual memory

paging systems can leave traces of information on the device that show what tasks and


                                               7
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processes were recently active. Web browsers, email programs, and instant messaging/"chat"

programs store configuration information on the device that can reveal information such as

online nicknames and passwords. Operating systems can record additional information, such

as the attachment of peripherals, the attachment of USB flash storage devices or other

external storage media, and the times the device was in use. Electronic devices can record

information about the dates files were created and the sequence in which they were created.

                      b.      Forensic evidence on an electronic device can also indicate who

has used or controlled the device. This "user attribution" evidence is analogous to the search

for "indicia of occupancy" while executing a search warrant at a residence. For example,

registry information, configuration files, user profiles, email, email address books, instant

messaging or chat logs, photographs, the presence or absence of malware, and

correspondence (and the data associated with the foregoing, such as file creation and last-

accessed dates) may be evidence of who used or controlled the electronic device at a relevant

time.

                      c.     A person with appropriate familiarity with how an electronic

device works can, after examining this forensic evidence in its proper context, draw

conclusions about how devices were used, the purpose of their use, who used them, and

when.

                      d.     The process of identifying the exact files, blocks, registry

entries, logs, or other forms of forensic evidence on an electronic device that are necessary to

draw an accurate conclusion is a dynamic process. While it is possible to specify in advance

the records to be sought, such evidence is not always data that can be merely reviewed by a


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review team and passed along to investigators. Whether data stored on an electronic device

is evidence may depend on other information stored on the device and the application of

knowledge about how the device behaves. Therefore, contextual information necessary to

understand other evidence also falls within the scope of the warrant.

                      e.     Further, in finding user attribution evidence, sometimes it is

necessary to establish that a particular thing is not present on an electronic device. For

example, the presence or absence of counter-forensic programs or anti-virus programs (and

associated data) may be relevant to establishing the user's intent.

               13.    Based on the foregoing, and consistent with Rule 4l(e)(2)(B) of the

Federal Rules of Criminal Procedure, the warrant I am applying for would permit the

examination of the SUBJECT TELEPHONE consistent with the warrant. The examination

may require authorities to employ techniques, including but not limited to computer-assisted

scans of the entire medium, that might expose many parts of the device to human inspection

in order to determine whether it is evidence described by the warrant.

               14.    Because this application seeks only permission to examine the

SUBJECT TELEPHONE, which is already in law enforcement's possession, the execution of

the warrant does not involve intrusion into a physical location. Consequently, I submit there

is reasonable cause for the Court to authorize execution of the warrant at any time in the day

or night.

                                        CONCLUSION

               15.    Based on the foregoing, there is probable cause to believe that there is

located in the SUBJECT TELEPHONE, further described in Attachment A, the things


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  described in Attachment B, which constitute evidence, fruits and instrumentalities of a

  conspiracy to distribute and possess with intent to distribute controlled substances, in

  violation of Title 21, United States Code, Sections 84l{b)(l)(A) and 846,. Accordingly, the

  Court should issue the requested warrant.

                   16.     WHEREFORE, your deponent respectfully requests that a search

  warrant be issued for the PREMISES KNOWN AND DESCRIBED AS: ONE BLACK



                   Ir,
  APPLE I-PHONE, FCC ID # BCG-E3085A, IC # 579CE3085A.

  Dated: Central          New York
         January         , 2019


                                                      Special Agent
                                                      FBI


  Sworn to before me this
  :J_dayofNovembe,,2018           0-~ ~/1
   IslCitJry t. !3tdW/L--
_./'THE HONORABLE GARh-B~WN
    UNITED STATES MAGISTRATE JUDGE
    EASTERN DISTRICT OF NEW YORK




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                            EXHIBIT 1
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....                                                     U.S. DISTRICT COURT E.O.N.V•

                                                                       *     AU6142011·        *
   CCC:MEM                                                              LONG ISLAND OFFICE
   F. #2018R01052

  UNITED STATES DISTRICT COURT
  EASTERN DISUUCT OF NEW YORK
       - - - - - - - - - - - -X
       UNITED STATES OF AMERICA                           INDicT,ENT
             - against-                                   Cr. No.                 18 4 3 0 ·
                                                          (T. 18, U.S.C., §§ 924(c)(l)(A)(i), 2 and
       BRANDYN LIGGON,                                     3551 et seg.; T. 21, U.S.C.,
           also known as "Swizz," and                      §§ 84l(b)(l)(A)(iii): 841(b){l)(A)(vi),
       CARL WASHINGTON,                                    841(b)(l)(C) and 846)
           also known as "Noonie,"

                                 Defendants.
       _____           ...;_
                                             -X
 THE GRAND JURY CHARGES:

                                                COUNTONE
                                    (Conspiracy to Distribute and Possess
                               with Intent to Distribute Controlled Substances)

                  I.       In or about and between February 2013 and August 2018, both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendants BRANDYN LIGGON, also known as "Swizz," and CARL WASHINGTON, also

known as "Noonie," together with others, did knowingly and intentionally conspire to

distribute and possess with intent to distribute one or more controlled substances, which

offense involved (a) a substance containing cocaine base, a Schedule II controlled substance;

(b) a substance containing heroin, a Schedule I controlled substance; (c) a substance

containing an analogue of fentanyl, to wit: furanyl fentanyl, a Schedule I controlled
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                                                                                                 2

 sub~tance; and (d) a substance containing an analogue of fentanyl, to wit: methoxyacetyl

 fentanyl, a Schedule I controlled substance, contrary to Title 21, United States Code, Section

 841 (a){l ). The amount of ~ocaine base, furanyl fentanyl and methoxyacetyl fentanyl

 involved in the conspiracy attributable to each defendant as a result of his own conduct, and

the conduct of other conspirators reasonably foreseeable to him, was (a) 280 grams or more

of a substance containing cocaine base, (b) 100 grams or more of a substance containing

furanyl fentanyl, and (c) 100 grams of more of a substance containing methoxyacetyl

fentanyl.

               (Title 21, United States Code, Sections 846, 84l(b)(l)(A){iii),

841(b)(l)(A)(vi) and 84l(b)(l){C); Title 18, United States Code, Sections 3551 et~.)

                                     COUNTTWO
               (Use ofFireanns In Connection with a Drug Trafficking Crime)

               2.     In or about and between February 2013 and August 2018, both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendants BRANDYN LIGGON, also known as "Swizz," and CARL WASHINGTON, also

known as "Noonie," together with others, did knowingly and intentionally use and carry one

or more fireanns during and in relation to a drug trafficking crime, to wit: the crime charged
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.....


                                                                                                    3

        in Count One, and did knowingly and intentionally possess said tireanns in furtherance of

        said drug trafficking crime.

                      (Thie 18, United States Code, Sections 924(c){l)(A)(i), 2 and 3551 et seg.)




        {2;d.,,,,.N) ~ <])it           8~
        RICHARD P. DONOGHUE
        UNITED STATES ATIORNEY
        EASTERN DISTRICT OF NEW YORK
                           Case 2:19-mj-00025-GRB Document 1 Filed 01/09/19 Page 15 of 20 PageID #: 15
                           Case 2:18-cr-00430-SJF-GRB Document 1 Filed 08/14/18 Page 4 of 4 PagelD #: 4
        F.#1: 20l8R0I0S2
..- ·   FORM DDD•:W               No .
        JUN.RS

                                          UNITED STATES DISTRICT COURT
                                                    EASTERN District of NEW YORK

                                                            CRIMINAL DIVISION

                                               THE UNITED STATES OF AMERICA
                                                                          vs.

                                          BRANDYN LIGGON, ALSO KNOWN AS "SWIZZ,"' AND
                                           CARL WASHINGTON, ALSO KNOWN AS "NOONIE,",

                                                                                                      Defendant.

                                                             INDICTMENT
                                    (T. 18, U.S.C., §§ 924(c)(l)(A)(i), 2 and 3551 et seq.; T. 21, U.S.C.,
                                        §§ 841{b){l)(A)(iii), 84l(b)(l)(A)(vi), 84l(b)(l)(C) and 846)


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                                  Filed i11 ope11 court tl,is _________________ day.

                                  of ____________ A.D. 20 ____ _


                                                                                                            Clerk


                                  Bail.$ ___________________________________ _


                                         Cliristopl,er C. Caffaro11e, Assistant U.S. Attorney (631) 71S-7868
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                            EXHIBIT 2
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 AO 442 (Rev. 11/11) Arrest Warrant



                                          UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Eastern District of New York

                      United States of America
                                 v.                                 )
                        BRANDYN LIGGON,                             )       Case No.
                         also known as "Swizz,"
                                                                                                      18 430
                                                                    )
                                                                    )
                                                                    )
                                                                                   CR
                                                                    )
                             Defendant
                                                                                                   FEUERSTEIN, J.
                                                      ARREST WARRANT
To:        Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(nameo/person tobea"ested)            BRANDYN LIGGON, also known as 11Swizz,"
who is accused of an offense or violation based on the following document filed with the court:

FJ Indictment              O Superseding Indictment        O Information      a   Superseding Information           a Complaint
□   Probation Violation Petition            O Supervised Release Violation Petition     □ Violation Notice          a Order of the Court
This offense is briefly described as follows:
  Conspiracy to Distribute and Possess with Intent to Distribute Controlled Substances, contrary to Trtle 21, United States
  Code, Section 841(a)(1}, and Use of Firearms In Connection with a Drug Trafficking Crime, contrary to Title 18, United
  States Code, Sections 924(c)(1)(A)(I).




Date: __0_8_/1_4/_2_01_8__
                                                                                         lss11fng officer's sfgnature

City and state:         Central Islip, New York                                   Honorable Anne Y. Shields, U.S.M.J.
                                                                                           Printed name and title

                                                                 Return
          This warrant was received on (dateJ _ _ _ _ _ _ , and the person was arrested on (date) _ _ _ _ _ __
at (city and stale)

Date: _ _ _ _ _ __
                                                                                        A"estlng officer's signature


                                                                                           Printed name and /Ille
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                               ATTACHMENT A

                             Property To Be Searched

               The property to be searched is ONE BLACK APPLE I-PHONE, FCC ID #
BCG-E3085A, IC# 579CE3085A (THE "SUBJECT TELEPHONE"), seized on or about
August 14, from BRANDYN LIGGON's person in Suffolk County, New York. The warrant
authorizes the forensic examination of the SUBJECT TELEPHONE for the purpose of
identifying the electronically stored information described in Attachment B.




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                                      ATTACHMENT B

                                Particular Things To Be Seized

               All information obtained from the SUBJECT TELEPHONE will be

maintained by the government for the purpose of authentication and any potential discovery

obligations in any related prosecution. The information shall be reviewed by the government

only for the purpose of identifying and seizing all information described below that

constitutes evidence, fruits, or instrumentalities of a conspiracy to distribute and possess with

intent to distribute controlled substances, in violation of Title 21, United States Code,

Sections 84l(b){l){A) and 846, including:

               1.       All records and information on the SUBJECT TELEPHONE described

in Attachment A, including (a) names and telephone numbers, as well as the contents of all

call logs, contact lists, and (b) for the time period February 2013 through August 2018, text

messages, emails (including those sent, received, deleted and drafted), instant messages,

photographs, videos, social media account activity (including postings and messages),

Internet activity (including browser history, web page logs, and search terms entered by the

user), and other electronic media constituting evidence, fruits, or instrumentalities of the

violations described above.

              2.        Evidence of user attribution showing who used or owned the SUBJECT

TELEPHONE at the time the things described in this warrant were created, edited, or

deleted, such as, for example, logs, phonebooks, saved usernames and passwords, documents,

and browsing history;




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               3.     Evidence of software that would allow others to control the SUBJECT

TELEPHONE, such as viruses, Trojan horses, and other forms of malicious software, as well

as evidence of the presence or absence of security software designed to detect malicious

software;

               4.     Evidence of the lack of such malicious software;

               5.     Evidence of the attachment to the SUBJECT TELEPHONE of other

storage devices or similar containers for electronic evidence;

               6.     Evidence of counter-forensic programs (and associated data) that are

designed to eliminate data from the SUBJECT TELEPHONE;

               7.     Evidence of the times the SUBJECT TELEPHONE were used;

               8.     Passwords, encryption keys, and other access devices that may be

necessary to access the SUBJECT TELEPHONE; and

               9.     Contextual information necessary to understand the evidence described

in this attachment, all of which constitute evidence, fruits and instrumentalities of the

violations described above.

              As used above, the terms "records" and "information" include all of the

foregoing items of evidence in whatever form and by whatever means they may have been

created or stored, including any form of computer or electronic storage (such as flash

memory or other media that can store data) and any photographic form.




                                               13
